        Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

  UNITED STATES OF AMERICA,                                 Case No: 4:22-cr-199

          Plaintiff,
                                                            REPLY IN SUPPORT OF
  vs.                                                       WENDT’S MOTION TO DISMISS

  BRADLEY EUGENE WENDT,

          Defendant.


        Defendant Bradley Eugene Wendt (“Wendt”) submits this reply to the Government’s

Response to Wendt’s Motion to Dismiss. The Government has charged this case based on what it

wants the law to be as opposed to what the law is, and it cannot base false statement charges on

unlawful requirements – especially, where the statements are ambiguous.

        The Indictment against Wendt consists of 20 counts – Counts 2-19 are false statement

counts and Count 1 is a conspiracy count based on the alleged false statements. Specifically, the

false statements alleged in the Indictment are:

              •   Counts 2-3 (“Purchase Law Letters”) – “(1) that the machine guns would be
                  used to carry out the official duties and responsibilities of the Adair Police
                  Department; and (2) that the machine guns were not being acquired for the
                  purpose of resale or transfer.”

              •   Counts 4-19 (“Demonstration Law Letters”) – “the machine gun(s) were
                  requested for demonstration for future potential purchase by the Adair
                  Police Department.”

Several problems prevent the Government from basing its Indictment on these alleged

statements.

        First, the statute, 18 U.S.C. § 922(o) (“the Statute”), plainly provides that a city has the

authority to transfer, possess, or authorize the transfer or possession of a machine gun. 18 U.S.C.


                                              1
      Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 2 of 6




§ 922(o) (“This subsection does not apply with respect to—(A) a transfer to or by, or possession

by or under the authority of, the United States or any department or agency thereof or a State, or

a department, agency or political subdivision thereof . . . .”). The Statute does not limit that right

in any way. In other words, under the Statute, the City of Adair has the right to purchase or

authorize the purchase of any machine gun regardless of whether the ATF thinks it is appropriate

for law enforcement use or not.

        Second, the Statute is unambiguous on this point and the ATF cannot enact a regulation

to the contrary. When the ATF interprets a criminal statute too broadly or too narrowly, “a court

has an obligation to correct its error.” Gun Owners of Am., Inc. v. Garland, 992 F.3d 446, 455

(6th Cir. 2021) (citation omitted) (emphasis added); see also United States v. Dodson, 519 F.

App’x 344, 349 (6th Cir. 2013) (“The ATF does not have the ability to redefine or create

exceptions to Congressional statutes.”). The ATF here is unconstitutionally overstepping its

authority to interpret criminal laws.

        The Government’s attempt to save the Regulation is incredulous and highlights the

problems with this case. Specifically, the Government claims it is the ATF – as opposed to the

state or local government – that has the power to authorize the transfer or possession of machine

guns to non-governmental entities. As such, it argues that the Regulation does not restrict the

Statute but, rather, “expands” the Statute. Govt. Br. at 7. The ATF cannot authorize something

Congress has prohibited. See United States v. Whitney Land Co., 324 F.2d 33, 38 (8th Cir. 1963).

Further, this is inconsistent with the plain reading of the Statute. It is the state or local

government that Congress provided this authority to and not the ATF.

        Third, the Regulation does not even require or allow for what the Government has

alleged as false statements. There is not even a regulation that purports to impose the “purchase



                                               2
      Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 3 of 6




law letter” requirement the Government made up in the Indictment. The Regulation only

purports to set forth the “demonstration law letter” requirement. In terms of demonstrations, the

Regulation only requires “letters from governmental entities expressing a need for a particular or

interest in seeing a demonstration of a particular weapon.” 27 C.F.R. § 479.105(a).

       Fourth, the ATF’s restrictions violate the Second Amendment. The Government claims

that the Second Amendment is not implicated here because, other than Count 20, Wendt is not

charged with “gun crimes” and “is not charged with failing to comply with an ATF regulation.”

Govt. Br. at 4, 6. Rather, the Government claims he is “accused of lying in the process of using

that regulation.” Id. at 6. What the Government misses is that it must prove that Wendt

knowingly made a false statement and that it was material. See 18 U.S.C. 1001(a)(2). A

statement is material if it is “capable of influencing the intended victim.” United States v.

Roberts, 881 F.3d 1049, 1052 (8th Cir. 2018); United States v. Cowden, 677 F.2d 417, 419 (8th

Cir. 1982). In other words, it must be capable of influencing the ATF’s decision – which is

important here because the Statute and Regulation do not give the ATF any discretion. If, as a

matter of law, the statement cannot influence the ATF’s decision, then the statement cannot be

material. The allegedly false statements are incapable of influencing the ATF’s decision and

thus, immaterial.

       As pointed out in our initial brief, the Regulation and any additional restrictions the ATF

seeks to impose beyond the Statute violate the Second Amendment. The Government refused to

even attempt to meet its burden to justify the Regulation. As such, because the Regulation

implicates the Second Amendment, the Government has not met its burden.

       Fifth, the ambiguity alone would render this prosecution suspect under the Due Process

Clause. The law is ambiguous as to what demonstration even means. United States v. Johnson,



                                             3
      Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 4 of 6




937 F.2d 392, 399 (8th Cir. 1991) (“When the government has created an ambiguity upon which

the defendant has reasonably relied in making his statement, the government will ordinarily be

unable to negative the defendant’s interpretation.”). Wendt must know and understand that it was

false. Here, the Government would have to prove that Wendt knew what the ATF terms of art

meant. Bear in mind that these terms of art from the ATF, as admitted in the Indictment. They

were not terms Wendt came up with on his own. They didn’t even come out of the guidance in

place at the time. See Dkt. #177, Ex. A. Rather, they apparently came out of template letters

posted on the website. The ATF cannot require police chiefs to parrot terms back to them that are

unconstitutional requirements, not allowed by Statute, not called for in the Regulation, not even

in the guidance, and that are ambiguous on their own – and especially so when viewed in the

larger context.

       Moreover, if Wendt subjectively believed what he was saying was true and his

interpretation was objectively reasonable, even if wrong, he cannot be guilty. United States v.

Anderson, 579 F.2d 455 (8th Cir. 1978); United States v. Harra, 985 F.3d 196, 204 (3d Cir.

2021) (“to prove falsity beyond a reasonable doubt in this situation, the Government must prove

either that its interpretation of the reporting requirement is the only objectively reasonable

interpretation or that the defendant’s statement was also false under the alternative, objectively

reasonable interpretation”); United States v. Whiteside, 285 F.3d 1345, 1351-52 (11th Cir. 2002)

(“In a case where the truth or falsity of a statement centers on an interpretive question of law, the

government bears the burden of proving beyond a reasonable doubt that the defendant’s

statement is not true under a reasonable interpretation of the law.”); United States v. Rowe, 144

F.3d 15, 21-23 (1st Cir. 1998) (finding that government bore the burden of negating reasonable

interpretations because a reasonable interpretation of the underlying disclosure requirement



                                             4
      Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 5 of 6




would render the defendant’s statement true); United States v. Migliaccio, 34 F.3d 1517, 1523-25

(10th Cir. 1994).

       Finally, per the Government’s resistance, its case depends on Wendt acting outside the

scope of his duties as Police Chief. According to the Government, its case boils down to the

following: “Wendt exploited his position as Chief of Police by making false statements to obtain

machine guns for his personal gain.” Govt. Br. at 11 (emphasis in original). That is simply not

true. However, for purposes of this motion, what is critical is that Wendt’s authority as Police

Chief is determined by two things and only two things – (1) the Statute and (2) the City of Adair.

But the Government failed to allege anything about the latter and got the law wrong on the

former. The same is true for Count 20 with respect to allowing members of the public to shoot

machine guns and make them pay for the costs.

       In conclusion, all counts in the Indictment against Wendt must be dismissed.

       Dated: July 10, 2023                     FAEGRE DRINKER BIDDLE & REATH LLP

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                                            5
      Case 4:22-cr-00199-SHL-HCA Document 234 Filed 07/10/23 Page 6 of 6




                                     CERTIFICATE OF SERVICE

           I hereby certify that on this 10th day of July, 2023, I electronically filed the foregoing

document with the Clerk of Court using the ECF system which will serve it on the appropriate

parties.


                                                                  /s/ Paulette Ohnemus




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